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                                                                1 Marquis Aurbach Coffing
                                                                  Chad F. Clement, Esq.
                                                                2 CA SBN 271161
                                                                  10001 Park Run Drive
                                                                3 Las Vegas, Nevada 89145
                                                                  Telephone: (702) 382-0711
                                                                4 Facsimile: (702) 382-5816
                                                                  cclement@maclaw.com
                                                                5   Attorney for Movant Interior
                                                                    Electric Incorporated Nevada
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                                                                8                           UNITED STATES DISTRICT COURT
                                                                9                         CENTRAL DISTRICT OF CALIFORNIA
                                                               10                                    EASTERN DIVISION
                                                               11 INTERIOR ELECTRIC                        Case No. 5:20-mc-00024-JGB-SP
MARQUIS AURBACH COFFING




                                                                  INCORPORATED NEVADA, a
                                                               12 Nevada corporation,                           MOVANT INTERIOR ELECTRIC
                                                                                                             INCORPORATED NEVADA’S NOTICE OF
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13                               Movant,        NON-OPPOSITION TO MOTION TO
                                Las Vegas, Nevada 89145




                                                                                                                         COMPEL
                                 10001 Park Run Drive




                                                               14         vs.
                                                                                                           Related to Action Pending in the U.S. District
                                                               15 MELINDA BEVERLY; and SCHIFF &            Court for the District of Nevada, Interior Electric
                                                                  SHELTON, ATTORNEYS AT LAW,               Incorporated Nevada v. T.W.C. Construction, Inc.
                                                               16                                          et al., Case No. 2:18-cv-01118-JAD-VCF
                                                                                     Respondents.
                                                               17                                          Hearing Date:         December 1, 2020
                                                                                                           Hearing Time:         10:00 a.m.
                                                               18

                                                               19         Pursuant to Local Rules (“LR”) 7-9, 7-12, and 7-13, Movant, Interior Electric

                                                               20 Incorporated Nevada (“Movant”), by and through its attorneys of record, hereby provides its

                                                               21 Notice of Non-Opposition to its Motion to Compel [ECF No. 1] (“Motion”), filed October 6,

                                                               22 2020.

                                                               23         Respondents Melinda Beverly (“Ms. Beverly”) and Schiff & Shelton, Attorneys at

                                                               24 Law (“S & S,” and with Ms. Beverly, “Respondents”) have failed to oppose the Motion by

                                                               25 their deadline to do so – November 10, 2020 – 21 days prior to the continued hearing in this

                                                               26 matter, currently set for December 1, 2020. LR 7-9. Under LR 7-12, “[t]he failure to file
                                                               27 any required document, or the failure to file it within the deadline, may be deemed consent

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                                                                1 to the granting or denial of the motion … ” Consequently, Respondents have, by their

                                                                2 failure to oppose, consented to the granting of the Motion.

                                                                3         Should Respondents attempt to file an untimely opposition, LR 7-13 states that
                                                                4 Respondents “shall be subject to the sanctions of L.R. 83-7 and the F.R.Civ.P.” (emphasis

                                                                5 added). Those sanctions include, but are not limited to, “monetary sanctions, if the Court

                                                                6 finds that the conduct was willful, grossly negligent, or reckless” as well as “the imposition

                                                                7 of costs and attorneys’ fees to opposing counsel, if the Court finds that the conduct rises to

                                                                8 the level of bad faith and/or a willful disobedience of a court order … ” LR 83-7(a), (b).

                                                                9         Movant respectfully submits that the circumstances warrant a granting of the pending
                                                               10 Motion and an award of attorney fees to Movant.

                                                               11         Dated this 23rd day of November, 2020.
MARQUIS AURBACH COFFING




                                                               12                                               Respectfully submitted
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13                                               By /s/ Chad F. Clement
                                Las Vegas, Nevada 89145
                                 10001 Park Run Drive




                                                                                                                   Chad F. Clement, Esq. (CA SBN 271161)
                                                               14                                                  MARQUIS AURBACH COFFING
                                                                                                                   10001 Park Run Drive
                                                               15                                                  Las Vegas, Nevada 89145
                                                                                                                   Attorneys for Movant Interior
                                                               16                                                  Electric Incorporated Nevada
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                                                                1                               CERTIFICATE OF SERVICE
                                                                2         I hereby certify that I electronically filed the foregoing MOVANT INTERIOR
                                                                3 ELECTRIC INCORPORATED NEVADA’S NOTICE OF NON-OPPOSITION TO

                                                                4 MOTION TO COMPEL with the Clerk of the Court for the United States District Court by

                                                                5 using the court’s CM/ECF system on the 23rd day of November, 2020.

                                                                6                 I further certify that some of the participants in the case are not registered
                                                                7 CM/ECF users. I have mailed the foregoing document by First-Class Mail, postage prepaid,

                                                                8 or have dispatched it to a third-party commercial carrier for delivery within 3 calendar days

                                                                9 to the following non-CM/ECF participants:

                                                               10
                                                                                             Schiff & Shelton, Attorneys at Law, and
                                                               11                                       Melinda Beverly
MARQUIS AURBACH COFFING




                                                                                                     c/o Ralph Shelton, Esq.
                                                               12                                3400 Campus Drive, Suite 202
                          (702) 382-0711 FAX: (702) 382-5816




                                                                                                    Newport Beach, CA 92660
                                                               13
                                Las Vegas, Nevada 89145
                                 10001 Park Run Drive




                                                                                      Attorney for the Subpoenaed Parties, Schiff & Shelton,
                                                               14                            Attorneys at Law, and Melinda Beverly
                                                               15

                                                               16                                               /s/ Lennie Fraga
                                                                                                                Lennie Fraga, an employee of
                                                               17                                               Marquis Aurbach Coffing
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